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                                            IN THE UNITED STATES BANKRUPTCY COURT
                                                 FOR THE DISTRICT OF MARYLAND
                                                        Located in Baltimore
                         IN RE

                         PHAEDRA A. BROWN                               Case No. 20-20565-NVA
                                                                        Chapter 7
                              Debtor
                         NATIONS DIRECT MORTGAGE, LLC
                         1 Corporate Drive
                         Suite 360
                         Lake Zurich, IL 60047
                                                                        Motion No.
                              Movant
                         v.

                         PHAEDRA A. BROWN
                         3846 Terka Cir
                         Randallstown, MD 21133

                         and

                         ZVI GUTTMAN
                         CHAPTER 7 TRUSTEE
                         P.O. Box 32308
                         Baltimore, MD 21282-2308

                              Respondents

                                            MOTION FOR RELIEF FROM AUTOMATIC STAY
                               COMES NOW, Nations Direct Mortgage, LLC, its successors and/or assigns,
                         movant, by its attorneys, Mark D. Meyer, Esq., and Rosenberg & Associates, LLC,
                         and respectfully represents as follows:
                                 1. Jurisdiction is based on 11 U.S.C. Section 362(d)-(f).

     ROSENBERG &               2. On or about December 4, 2020, Phaedra A. Brown ("Debtor") filed a
   A SSOCIATES, LLC
4340 East West Highway   Voluntary Petition in the Court under Chapter 7 of the Bankruptcy Code.
       SUITE 600
 BETHESDA, MD 20814
    (301) 907-8000
 FILE NUMBER: 68641
                                 3. Zvi Guttman is the Chapter 7 trustee of the Debtor's estate.

                               4. At the time of the initiation of these proceedings, the Debtor owned a
                         parcel of leasehold real estate improved by a residence with a legal description of
                         "Being known and designated as Lot No. 34, Block R, as shown on the Plat entitled
                         “Section 6, Plat One, Randall Ridge” which Plat is recorded among the Land
                         Records of Baltimore County, Maryland, in Plat Book RRG No. 30 Folio 116." also
                         known as 3846 Terka Circle, Randallstown, MD 21133 (hereinafter "the subject
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                         property").
                               5. The subject property is encumbered by a Deed of Trust securing the note,
                         which is currently held by the movant. The documents evidencing the movant's
                         security interest are attached hereto.


                               6. The total amount due under the Deed of Trust securing the Movant as of
                         February 2, 2021, not including attorney's fees and court costs, is approximately
                         $227,906.27.

                               7. The Debtor is in default under the Deed of Trust, and the Movant has
                         accelerated the entire balance of the Note and Mortgage and interest continues to
                         accrue.

                               8. The Debtor is behind in his/her monthly mortgage payments, and equity in
                         the Debtor's residence is dissipating.

                               9. The Movant lacks adequate protection of its interest in the subject
                         property.
                                 10. The Movant has been and continues to be irreparably injured by the stay
                         of Section 362 of the Bankruptcy Code, which prevents the Movant from enforcing
                         its rights under the Note and Deed of Trust.

                              11. Cause exists for lifting the automatic stay imposed by Section 362 of the
                         Bankruptcy Code to enable the Movant to enforce its rights under its Note and
                         Deed of Trust.

                              12. The subject property is not necessary for an effective reorganization.

                               WHEREFORE, the Movant, Nations Direct Mortgage, LLC its successors and/
                         or assigns, respectfully requests that this Honorable Court:

                                 1. Enter an order terminating the automatic stay imposed by Section 362 of
                         the Bankruptcy Code to enable it to proceed with a foreclosure sale, accept a deed
                         in lieu or agree to a short sale of the real property and improvements located at
                         3846 Terka Circle, Randallstown, MD 21133; and
     ROSENBERG &
   A SSOCIATES, LLC            2. Grant such other and further relief as may be just and necessary.
4340 East West Highway
       SUITE 600
 BETHESDA, MD 20814
    (301) 907-8000                                             /s/Mark D. Meyer, Esq.
                                                              ___________________________________
 FILE NUMBER: 68641
                                                              Mark D. Meyer, Esq.
                                                              Federal Bar 15070

                                                              Rosenberg & Associates, LLC
                                                              4340 East West Highway, Suite 600
                                                              Bethesda, MD 20814
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                                                     CERTIFICATE OF SERVICE
                                I hereby certify that on the 3rd day of February, 2021, I reviewed the Court’s
                         CM/ECF system and it reports that an electronic copy of the foregoing Motion for
                         Relief from the Automatic Stay will be served electronically by the Court’s CM/ECF
                         system on the following:

                         Zvi Guttman, Trustee

                         Eric Steiner, Esquire

                                I hereby further certify that on the 3rd day of February, 2021, a copy of the
                         foregoing Motion for Relief from the Automatic Stay was also mailed first class
                         mail, postage prepaid to:

                         Phaedra A. Brown
                         3846 Terka Circle
                         Randallstown, MD 21133
                                                                /s/Mark D. Meyer, Esq.
                                                               ___________________________________
                                                               Mark D. Meyer, Esq.




     ROSENBERG &
   A SSOCIATES, LLC
4340 East West Highway
       SUITE 600
 BETHESDA, MD 20814
    (301) 907-8000
 FILE NUMBER: 68641
